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                                        IN THE UNITED STATES DISTRICT COURT
                                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                PALM BEACH DIVISION

  __________________________________________x
  UNITED STATES OF AMERICA,                  :                                       case no. 9:20-cv-82236-AMC
         Plaintiff,                          :
                                             :
  v.                                         :
                                             :
  EVELYN SOLOMON,                            :
  by and through her Guardian Julia Solomon, :
         Defendant.                          :
  __________________________________________x

                                                      NOTICE OF APPEAL


             NOTICE is hereby given that EVELYN SOLOMON, by and through undersigned counsel,

  appeals the November 1, 2021, final judgment (Doc. # 67), the November 1, 2021, order (Doc. #

  66), and the October 27, 2021, order (Doc. # 64), all of which to the United States Court of Appeals

  for the 11th Circuit.


  Respectfully submitted,                                                     Dated: Nov. 2, 2021


  /s/ Joseph A. DiRuzzo, III Digitally
  ___________________________________
                                       signed by /s/ Joseph A. DiRuzzo, III
                             Date: 2021.11.02 12:12:40 -04'00'                /s/ Daniel M. Lader
  Joseph A. DiRuzzo, III                                                      Daniel M. Lader
  Fla. Bar No. 0619175                                                        Fla. Bar No. 1004963
  DIRUZZO & COMPANY                                                           DIRUZZO & COMPANY
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on Nov. 2, 2021, I filed and served the foregoing document upon

  counsel and parties of record via the CM/ECF system.

                                 Digitally signed by /s/ Joseph A. DiRuzzo, III
  /s/ Joseph A. DiRuzzo, III     Date: 2021.11.02 12:12:50 -04'00'

  Joseph A. DiRuzzo, III
